JS 44 (Rev. 04/21)                          CIVIL COVER
                     Case 3:22-pq-01969-NJR Document        SHEET
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                       DEFENDANTS
                                                                                                        Syngenta Crop Protection LLC, Syngenta AG, Chevron
         Linda Seal and William Seal
                                                                                                        USA. Inc.
   (b)   County of Residence of First Listed Plaintiff            Washington Parish LA                  County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c)   Attorneys (Firm Name, Address, and Telephone Number)                                            Attorneys (If Known)
      Layne C. Hilton, Esq. Richard Clark, Esq. Matthew
      Wilson, Esq. Meyer Wilson, Co., LPA 305 W. Nationwide
      Blvd. Columbus, Ohio 43215 866-827-6537
II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                   PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                     Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                    of Business In This State

  2    U.S. Government              ✖ 4    Diversity                                           Citizen of Another State          ✖ 2          2   Incorporated and Principal Place           5    ✖ 5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                          of Business In Another State

                                                                                               Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                  Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                           FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY               PERSONAL INJURY               625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane               ✖ 365 Personal Injury -              of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product             Product Liability          690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability               367 Health Care/                                                      INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &             Pharmaceutical                                                  PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                     Personal Injury                                                 820 Copyrights                    430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’           Product Liability                                               830 Patent                        450 Commerce
  152 Recovery of Defaulted                Liability               368 Asbestos Personal                                               835 Patent - Abbreviated          460 Deportation
       Student Loans                  340 Marine                       Injury Product                                                      New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product               Liability                                                       840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment              Liability              PERSONAL PROPERTY                        LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle            370 Other Fraud                710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle            371 Truth in Lending               Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability        380 Other Personal             720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal               Property Damage                Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                   385 Property Damage            740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -            Product Liability          751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                         Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS              PRISONER PETITIONS              790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights       Habeas Corpus:                 791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                   463 Alien Detainee                 Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment               510 Motions to Vacate                                               870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                     Sentence                                                             or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations           530 General                                                         871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -   535 Death Penalty                  IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment               Other:                         462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -   540 Mandamus & Other           465 Other Immigration                                                  950 Constitutionality of
                                          Other                    550 Civil Rights                   Actions                                                                State Statutes
                                      448 Education                555 Prison Condition
                                                                   560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from              4 Reinstated or             5 Transferred from       6 Multidistrict              ✖     8 Multidistrict
    Proceeding             State Court                            Appellate Court              Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                           (specify)                  Transfer                         Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. 1322
VI. CAUSE OF ACTION                    Brief description of cause:
                                       PRODUCT LIABILITY PERSONAL INJURY ACTION RELATING TO THE HERBICIDE PARAQUAT
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                          JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE          NANCY J. ROSENSTENGEL                                DOCKET NUMBER 3-21-MD-3004
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                   JUDGE                           MAG. JUDGE
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JS 44 Reverse (Rev. 04/21)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
